             Case 1:19-cv-00920-CJN Document 21-1 Filed 01/02/20 Page 1 of 7




                                       UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF COLUMBIA
                                               CIVIL DIVISION

TARA AND JAMES GARDINER,                               )
                                                       )
                   Plaintiffs                          )
                                                       )
v.                                                     )        Civil Action No. 1:19-cv-00920-CJN
                                                       )
BOZUTTO MANAGEMENT                                     )
COMPANY,                                               )
                                                       )
                   Defendant.                          )

      DEFENDANT’S MEMORANDUM IN OPPOSITION TO PLAINTIFFS’ MOTION FOR
     PARTIAL SUMMARY JUDGMENT AND IN SUPPORT OF DEFENDANT’S COUNTER
                  MOTION FOR PARTIAL SUMMARY JUDGMENT

      I.       INTRODUCTION

            This court should deny Plaintiffs’ Motion for Partial Summary Judgment on Count III of

their Amended Complaint, because Title 41 of the Code of the District of Columbia does not

apply to the property alleged to have been discarded by the Defendant, and Plaintiffs are not the

persons for whom the statute was enacted. The Defendant agrees for the purposes of Count III;

there are no material facts in dispute1. However, the undisputed material facts support a finding

of partial summary judgment in favor of the Defendant, not the Plaintiffs. Defendant is entitled

to partial summary judgment in its favor on Plaintiffs’ negligence per se claim because the

property alleged to have been discarded are not negotiable instruments, and therefore Title 41 of

the Code of the District of Columbia does not apply to the actions of the Defendant.

      II.      STANDARD OF REVIEW



1
  There is some dispute as to what happened to the property, but for the purposes of this motion and the counter
motion, any such dispute is not material. There is no dispute as to the type of property Plaintiffs allege were lost or
that Defendant did not give any notice to the Plaintiffs with regard to the property claimed to have been lost from the
storage locker.

                                                           1
            Case 1:19-cv-00920-CJN Document 21-1 Filed 01/02/20 Page 2 of 7




           Summary judgment is appropriate where the “pleadings, depositions, answers to

interrogatories, and admissions on file, together with the affidavits, if any, show that there is no

genuine issue as to any material fact and the moving party is entitled to judgment as a matter of

law.” Fed. R. Civ. P. 56 (c). “For a fact to be material, it must be a fact that the substantive law

identifies as possibly affecting the outcome of the suit.” 325-343 E. 56th St. Corp, 906 F. Supp.

at 673 (citing Anderson v. Liberty Lobby, 477 U.S. 242, 248 (1986). “When the unresolved

issues are primarily legal rather than factual, summary judgment is particularly appropriate.”

325-343 E. 56th St. Corp. v. Mobil Oil Corp., 906 F. Supp. 669, 673 (D.D.C. 1996)(citing Crain

v. Board of Police Comm’rs of Metro. Police Dep’t, 920 F.2d 1402, 1405-06 (8th Cir. 1990)).

“Such issues include matters turning on statutory interpretation.” Id. (“[H]olding that no genuine

issue of material fact existed as to statute’s purpose because appropriate determination focuses

on statute’s language and legislative history.” (citing Edwards v. Aguillard, 482 U.S. 578, 594-

597 (1987))).

    III.      LAW AND ARGUMENT

           A. D.C. Code Title 41 Governs Abandoned Negotiable Instruments

           Title 41 of the Code of the District of Columbia, previously codified under Title 42 as the

Uniform Unclaimed Property Act of 1981, established statutory requirements for the reporting

and delivery to the District of Columbia of abandoned negotiable instruments and other forms of

monetary instruments. See D.C. Code § 41-101. The District of Columbia Court of Appeals

discussed the legislative purpose of Title 41, previously codified under Title 42, in Riggs

National Bank v. District of Columbia. 581 A.2d 1229, 1233 (D.C. 1990). Reviewing the

legislative history of the statute, the Court noted that:

           Before the enactment of the UPA, depositary institutions in the District of Columbia
           enjoyed the use of, and often appropriated as their own, many millions of dollars in


                                                    2
         Case 1:19-cv-00920-CJN Document 21-1 Filed 01/02/20 Page 3 of 7




       unclaimed deposits, stale official checks and other unclaimed property under a
       process which the trial judge in this case aptly described as a ‘private escheat.’ In
       1981, concluding that this state of affairs provided a ‘windfall’ for these
       institutions…the Council of the District of Columbia enacted legislation designed
       to put an end to the unearned and fortuitous enrichment of the holders of abandoned
       property and to provide instead for the interests of the citizens of the District and
       ensure that any such escheat would be for public benefit rather than for private gain.

Id. The legislative purpose and applicability of the statute is also clear from the statutory language.

Notably, missing from Plaintiffs’ discussion of Title 41 is the definition of the word property.

Under Title 41, “property” is defined as

       a fixed and certain interest or right in an intangible property that is held, issued, or
       owed in the course of the holder’s business, or by a government or governmental
       entity, and all income or increments therefrom, including that which is referred to
       as or evidenced by any of the following:

       (A)     Money, check, draft, deposit, interest, dividend, or income;

       (B)    Credit balance, customer overpayment, gift certificate, security deposit,
       refund, credit memorandum, unpaid wage, unused airline ticket, unused ticket,
       mineral proceed, or unidentified remittance and electronic fund transfer;

       (C)    Stock or other evidence of ownership or an interest in a business
       association….

D.C. Code § 41-102.

       Nowhere, is property defined as the items which Plaintiffs allege were discarded and which

are the subject of this suit. See Ex. C. Furthermore, § 41-117, governs the reporting requirements

for “property presumed abandoned.” Plaintiffs neglected to discuss D.C. Code § 41-103, which

defines what types of property will be presumed abandoned. “Property presumed abandoned” is:

       (A) All intangible personal property not otherwise covered by this chapter,
       including any income or increment thereon and deducting any lawful charges, that
       is held or owing in the ordinary course of the holder’s business and has remained
       unclaimed by the owner for more than 3 years after it became payable or
       distributable is presumed abandoned.




                                                  3
         Case 1:19-cv-00920-CJN Document 21-1 Filed 01/02/20 Page 4 of 7




       (B) Property presumed abandoned shall include, but is not limited to: Drafts,
       credit balances, credit checks, uncashed vendor checks, and any other outstanding
       checks.

       (C) Property subject to this chapter shall be deemed payable or distributable
       notwithstanding the owner’s failure to present any instrument or document
       evidencing the owner’s right to receive the payment provided therein.

       (D) A record of the issuance of a check, draft, or similar instrument is prima facie
       evidence of an obligation. In claiming property from a holder who is also the
       issuer, the administrator’s burden of proof as to the existence and amount of the
       property and its abandonment is satisfied by showing issuance of the instrument
       and passage of the requisite period of abandonment. Defenses of payment,
       satisfaction, discharge, and want of consideration are affirmative defenses that
       must be established by the holder.

D.C. Code § 41-103. Plaintiffs’ reading of the statute, and their arguments based upon that reading

ignore the canons of statutory construction. The reporting requirements in § 41-117, must be read

in conjunction with § 41-102 and § 41-103, which prescribes what types of property governed by

the statute. When reading § 41-102 and § 41-103 together, it is clear that the government of the

District of Columbia intended this statute to govern negotiable instruments, not all types of

personal property.

       B.      Plaintiffs Are Not Entitled to Partial Summary Judgment on Their Claim for
               Negligence Per Se Because Title 41 is not Intended to Protect Them Against the
               Type of Injury Alleged

       Plaintiffs cannot establish a claim for negligence per se under Title 41 because it was not

enacted to protect individuals in the Plaintiffs’ position, nor was it enacted to prevent the type of

accident the Plaintiffs allege occurred. See 325-343 E. 56th St. Corp, 906 F. Supp. at 686

(quoting Ceco Corp. v. Coleman, 411 A.2d 940, 945 (D.C. 1982) (“where a particular statutory

or regulatory standard is enacted to protect persons in the plaintiff’s position or to prevent the

type of accident that occurred, and the plaintiff can establish his relationship to the statute,

unexplained violation of that standard renders the defendant negligent as a matter of law.”)).



                                                   4
         Case 1:19-cv-00920-CJN Document 21-1 Filed 01/02/20 Page 5 of 7




Title 41 was enacted to provide the District of Columbia with authority to “act as the custodian

for substantial sums of abandoned personal property within its jurisdiction.” D.C. Code § 41-

101. The policy purpose behind the legislation was to prevent banks and other financial

institutions from profiting from abandoned negotiable instruments and other forms of currency.

See Riggs National Bank, 581 A.2d at 1233. A secondary purpose was to reroute those windfalls

from financial institutions to the District of Columbia and the general public. See id.

       § 41-117, the reporting requirements section, which Plaintiffs seek to rely upon for their

contention that the Defendant is negligent per se, requires that the holder of property report to

the Mayor the type and amount of funds or property which it is holding. See D.C. Code. 41-117.

Violations of the reporting requirement are punishable by civil fines to the General Fund of the

District of Columbia. See D.C. Code 41-136. § 41-117 and § 41-136, the reporting and

enforcement sections of the statute respectively, clearly establish the policy purpose behind the

stature, which is to prevent financial institutions from financial windfalls to the detriment of the

government of the District of Columbia and the general public.

       Plaintiffs allege that the storage locker contained “numerous items related to Mrs.

Gardiner’s adoption from Korea as an infant, her wedding tiara from her first marriage, five

family photo albums containing 600 photographs, including photographs of Mrs. Gardiner’s and

her daughter’s childhoods, and a botanical assay of plants inherited by Mr. Gardiner from his

aunt.” See Pl. Statement of Material Facts Not in Dispute; see also Defendant’s Statement of

Material Facts Not in Dispute. Nowhere in Plaintiffs’ Statement of Material Facts Not in

Dispute, or contained within the list of items appended to Plaintiffs’ Amended Complaint, do the

Plaintiffs claim that the storage locker contained negotiable instruments.

       C. Defendant Moves for Partial Summary Judgment on Count III of Plaintiffs’ Amended
          Complaint


                                                  5
         Case 1:19-cv-00920-CJN Document 21-1 Filed 01/02/20 Page 6 of 7




       Defendant incorporates its arguments regarding Title 41 and negligence per se detailed

above. Defendant is entitled to partial summary judgment on Count III of Plaintiffs’ Amended

Complaint, because Title 41 does not protect individuals in the Plaintiffs’ position nor was it

enacted to prevent the type of injury the Plaintiffs alleged occurred, and Plaintiffs have failed to

establish their relationship to the statute. None of the property contained in the storage locker, as

listed in Exhibit C, is the type of property which is contemplated by the § 41-102 and § 41-103.

See Ex. C. It is clear from the legislative history detailed in Riggs National Bank and the plain

meaning of the statutory language that Title 41 applies to negotiable instruments, and not the

personal property Plaintiffs allege was lost by the Defendant.

       D. CONCLUSION

       WHEREFORE the Defendant, Bozzuto Management Company, requests that this Court

deny the Plaintiffs’ Motion for Partial Summary Judgment, and in the alternative, grant the

Defendant’s Motion for Partial Summary Judgment for the reasons stated above.



                                                      Respectfully submitted,
                                                      Bozzuto Management Company,
                                                      By counsel,
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                                                  6
        Case 1:19-cv-00920-CJN Document 21-1 Filed 01/02/20 Page 7 of 7




                              CERTIFICATE OF SERVICE


        I HEREBY CERTIFY that on this 2nd day of January, 2020, a copy of the foregoing

Memorandum in Opposition to the Plaintiffs’ Motion for Summary Judgment and in support of

Defendant’s Counter Motion for Summary Judgment was filed with the court via electronic filing

upon:

           Joel M. Cohn, Esquire
           6306 33rd Street, NW
           Washington, D.C. 20015

                                                     /s/ Dawn E. Boyce
                                                     Dawn E. Boyce




                                           7
